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                                                              Lawson v. Spirit Aerosystems, Inc.                                                   CONFIDENTIAL
                                                          Plaintiff's First List of Custodians To Spirit
                                                                             1/28/2019
Custodian (inc. any personal or executive assistants)   Most Recent Title While At Spirit
Adam Pogue                                              Senior Director Global Facilities/Tooling
Alan Hermanson                                          VP Business Development
Alan Young                                              VP Wichita Fabrication Operations
Aldo Servello                                           VP Boeing, Defense, Business/ Regional Jet Programs, and GCS&S
Amie Emerson                                            Senior Director Airbus Programs Quality
Andy Cobb                                               VP/Chief Engineer Airbus
Bill Brown                                              Senior VP/GM Oklahoma Operations, Business/Regional Jets & Global Customer Support
Bob Johnson                                             Chairman, Board of Spirit Aerosystems, Inc.
Bob Recchio                                             VP GCS&S Sales & Marketing
Charles Baggett                                         VP Kinston & France Operations
Charles Chadwell                                        Board of Spirit Aerosystems, Inc.
Charlie McKinny                                         VP Boeing Cost Reduction Management
Christopher Collins                                     VP Transfer of Work
Cindy Hoover                                            VP Twin Aisle Programs
Dan Caughran                                            VP Global Quality
Deanne Waddell                                          Assistant to the CEO
Duane Hawkins                                           Senior VP/GM Boeing, Defense, Business/Regional Jet Programs and Global Customer Support
Dwayne Johnston                                         VP Defense Strategic Programs
Francis Raborn                                          Board of Spirit Aerosystems, Inc.
Frédéric Michelland                                     VP Airbus Programs Business Development and Customer Relations
Ghassan Awwad                                           Senior Director Global Production Engineering
Grant Bauserman                                         Senior Director Defense Quality
Heidi Wood                                              SVP Strategy, M&A, Investor Relations
Irene Esteves                                           Board of Spirit Aerosystems, Inc.
Jason Beckmann                                          VP Global Contracts
Jeff Degraffenreid                                      Deputy General Counsel Airbus, Disputes, & CAO
Jeffry Dempsey                                          VP Chief Engineer Boeing
Jim Cocca                                               VP Manufacturing Strategy
Jim Reed                                                VP Global Supply Chain & Logistics
Jim Urso                                                VP Fabrication
John Dean                                               Senior Director Core BD, Defense New Business & Strategic Initiatives
John Gilson                                             VP Corporate Controller
John Pilla                                              Senior VP Chief Technology & Quality Officer
John Plueger                                            Board of Spirit Aerosystems, Inc.
Justin Welner                                           VP Human Resources and EHS
Kailash Krishnaswamy                                    VP Investor Relations, Mergers & Acquisitions and Strategy
Kevin Ettwein                                           Senior Director GPE Kinston & St. Nazaire
Kevin Matthies                                          Senior VP Global Fabrication
Larry Lawson                                            President and CEO
Laura Wright                                            Board of Spirit Aerosystems, Inc.
Lillian Dukes                                           VP GCS&S Business Operations
Mark Suchinski                                          VP 787 Program
Matt Martin                                             VP A350 Programs
Michelle Lohmeier                                       Senior VP/GM Airbus Programs
Paul Fulchino                                           Board of Spirit Aerosystems, Inc.
Rich Richardson                                         VP Chief Information Officer
Richard Gephardt                                        Board of Spirit Aerosystems, Inc.
Robert Johnson                                          Board of Spirit Aerosystems, Inc.
Rod Webber                                              VP Chief Engineer Boeing & Regional Jet Programs
Ron Rabe                                                Senior VP Fabrication & SCM
Ronald Kadish                                           Board of Spirit Aerosystems, Inc.
Sam Marnick                                             Executive VP Chief Administration Officer
Sanjay Kapoor                                           Executive VP Chief Financial Officer
Sanjoy Kumar                                            Senior Director Boeing Programs Quality
Scott McLarty                                           VP/GM UK & Malaysia
Sean Black                                              VP R&D and Chief Engineer Airbus
Shawn Campbell                                          VP 737 Program
Stacy Cozad                                             Senior VP General Counsel, Chief Compliance Officer & Corporate Secretary
Stacy Hall                                              Senior Director Airbus Programs Controller
Steve Sharp                                             VP Fabrication and Supply Chain Controller
Stuart Harrison                                         Senior Director Global SCM Program, Materials & PO Management
Terry George                                            VP/GM Kinston
Tom Gentile                                             President and CEO
Tommy Cowan                                             Senior Director A320, A330, A380 Program Management
Tony Hardone                                            VP Finance Operations
Tony Kondrotis                                          VP Program Leader 747, 767, 777
Vic McMullen                                            VP/GM Wichita Operations
Wendy Crossman                                          Senior Director Global SCM Sourcing Management
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Search Term                                                                                                                                          Notes
Larry AND (CEO OR Spirit OR consult! OR proxy OR contest)                                                                                            Except for Lawson as custodian
Lawson AND (Retire! OR Resign! OR negotiate! OR employ!)                                                                                             Except for Lawson as custodian, pre-Lawson retirement date
Lawson                                                                                                                                               Except for Lawson as custodian, post-Lawson retirement date
llawson333@gmail.com
Arconic
@arconic.com
Kleinfeld OR Blankenship
Elliot OR Elliott OR Eliott OR Eliot OR singer
*@elliottmgmt.com
(Boeing OR Airbus) AND (produc! OR sell OR sale OR sold OR custom! OR market OR agreement)
Asco AND (antitrust OR "federal trade commission" OR FTC OR HSR OR Hart OR Scott OR Rodino OR 4c OR 4d)
(Boeing OR Airbus) AND (contract OR sale OR sell OR produc! OR manufactur! OR Fabricat! OR suppl!)
Non-Compet! AND enforc!
(retirement OR Employment) /4 (Agreement OR Contract)
Retirement /4 (benefits OR payments)
(market OR business OR aerospace) AND (analy! OR review! OR strateg! OR comparab! OR competit!)
Tier /10 (1 OR 2 OR 3 OR 4 OR one OR two OR three OR four OR super OR sub)
Proxy Contest
Manufactur! OR Sell Or Sale OR Sold
(Customer OR client) AND (data! OR list)
Supplier OR sub-supplier
Catalog OR Catalogue
Acquir! OR Acquisition OR divest! OR joint venture OR merge! OR alliance OR ally
(corporate OR business OR fabricat! OR partner!) /4 strateg!
Aerostructure OR component
fabricat!
“Boeing Partners Network" OR BPN”
(Org OR Organization) /10 chart
fastener OR bolt
Fuselage
Flight Critical
Wing /4 (box OR rib)
Shear ties
pallet assembl!
spoiler
Access /4 door
helicopter /4 floor
(Engine OR turbine) /4 (base OR structure)




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Search Term                                                                                                                Notes
Window frame
seat /4 track
pylon
bulkhead
(aluminum OR metal) /4 machin!
diffusion bonding
laser /4 cut!
Water-jet OR water jet
chemical mill!
stretch form!
(Chromic OR Chrome OR acid) /4 anodiz!
(chromic Or Chrome) /4 acid
Passivation
Chemical converstion
Titanium etch!
Makino
Forest Line
High Velocity
A77
T2
Mag3
Single spindle
Multi-spindle OR multi spindle
High torque
Gantry
Extrusion
Cinetic
Chiron
Modig
HHV
FlexMills OR Flex Mills
Henri Line
(3 or three OR 4 or four OR five OR 5) /4 axis
Okuma
Matsuura OR Matsura
SNK
Mazak
Nomura




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                                                                   Plaintiff's First Set of Search Terms To Spirit
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Search Term                                                                                                          Notes
DeVleg Or DeVlieg Or DeVleig
Toshiba
precision bor!
Norsk
Additive Manufactur!
Joule Form!
Heat Treat!
Shot Peen!
Hand Form!
Paint!
ISO9001 OR ISO 9001
AS9001C OR AS 9001C OR AS9001 OR AS 9001
FAA /50 (approv! OR certif!)
Certification




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